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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 19-50-CJC

14             Plaintiff,                     GOVERNMENT’S SENTENCING POSITION

15                   v.                       Hearing Date: July 15, 2019
                                              Hearing Time: 10:00 a.m.
16   ADAU AKUI ATEM MORNYANG,                 Location:     Courtroom of the
                                                            Hon. Cormac J.
17             Defendant.                                   Carney

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorneys MiRi Song and Kevin
22   B. Reidy, hereby files its Sentencing Position.
23   //
24   //
25   //
26   //
27   //
28   //
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1         This Sentencing Position is based upon the attached memorandum

2    of points and authorities, the files and records in this case, and

3    such further evidence and argument as the Court may permit.

4    Dated: July 1, 2019                  Respectfully submitted,

5                                         NICOLA T. HANNA
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                                          BRANDON D. FOX
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9
                                             /s/
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.   INTRODUCTION
3         Defendant ADAU AKUI ATEM MORNYANG (“defendant”) stands convicted

4    of interference with a flight attendant and assault by striking and

5    beating of that same flight attendant in an international flight from

6    Melbourne, Australia to Los Angeles, California.          The victim flight

7    attendant served as a flight attendant for 22 years and was never

8    physically attacked on the job until defendant assaulted him.            The

9    victim was shocked and could not physically do anything except sit

10   for nearly half an hour to process what had happened to him.            The

11   victim did nothing to deserve this attack.         He was courteous to

12   defendant throughout the flight and tried to help her multiple times,

13   while still serving and protecting the other passengers on the

14   flight.   To make matters worse, defendant’s attack did not stop at

15   the physical assault.     She continued to shout obscenities, including

16   calling a black federal air marshal a “house nigger” and a female

17   flight attendant a “dumb white trash bitch,” and disrupted the victim

18   flight attendant’s abilities to perform his duties and serve the

19   other passengers for hours.

20        The United States Probation and Pretrial Services Office

21   (“USPO”) has filed a Presentence Investigation Report (“PSR”) in this

22   matter, calculating the total offense level as 9, and determining

23   that defendant is criminal history category I.          (PSR ¶¶ 28 and 35.)

24   The Guidelines range is therefore 4 to 10 months.          The USPO

25   recommends three years of probation, a $2,000 fine, and a $125

26   special assessment.

27        The government concurs with the USPO’s calculations, but

28   recommends the following in light of the factors set forth in 18
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1    U.S.C. § 3553(a): a one-month term of imprisonment with three months

2    of home detention as a condition of supervised release as to counts

3    one and two; two years of supervised release, consisting of two years

4    as to count one and one year as to count two (to run concurrently);

5    $125 in special assessment, consisting of $100 as to count one and

6    $25 as to count two; and a $2,000 fee, consisting of $1,000 as to

7    count one and another $1,000 as to count two.

8    II.   STATEMENT OF FACTS
9            On January 21, 2019, defendant ordered several alcoholic

10   beverages while on a flight from Melbourne, Australia to Los Angeles,

11   California before lashing out at her fellow passengers and flight

12   crew.   (PSR ¶ 8.   See also Docket No. 78: Day 2 Transcript at 27:25

13   to 28:1.)   Based on the amount that defendant ordered, the flight

14   attendants politely cut her off from ordering yet even more.            (See

15   Docket No. 77: Day 1 Transcript at 23:23 to 24:50.)           About an hour

16   later, however, passengers approached the flight crew to complain

17   about defendant’s behavior, which included yelling obscenities and

18   racial slurs and flailing her arms.         (Id. at 24:6-11 to 26:2.)

19   Veteran flight attendant of 22 years, R.G. (also referred to herein

20   as the “victim flight attendant” and “the victim”), approached

21   defendant to see if she needed any help and to ask her to calm down.

22   (Id. at 26:6-19.)     Defendant did not calm down and instead moved

23   through the plane aisle, hitting several seated passengers while she

24   continued to yell obscenities.       (PSR ¶ 9.)    Defendant escalated her

25   aggressive behavior and “smacked” the victim flight attendant.             (See

26   Docket No. 77: Day 1 Transcript at 34:9-13.)

27         Federal Air Marshal Jason Jay, who was undercover in

28   plainclothes and who was observing this incident, broke his anonymity

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1    as soon as he observed her striking the victim.          (Id. at 90:9-16.)

2    Defendant was escorted to the back of the airplane, where she was

3    placed in handcuffs and continued to harass the people around her for

4    the rest of the remaining five hours of the flight to Los Angeles.

5    (Id. at 94:11-23.)     Meanwhile, the victim flight attendant could not

6    resume his normal duties as a flight attendant because he “was in

7    shock,” a sentiment he repeated multiple times:          “I was in shock.        I

8    was in shock.    I wasn’t sure.     I was trying to process what had just

9    happened.   I never thought I was going to get physically assaulted at

10   work so I was in shock.”      (Id. at 18:2-3 and 35:5-9.)       The incident

11   jarred the victim so much that for half an hour after he was

12   attacked, he could not physically do anything and had to sit down and

13   calm his nerves.     (Id. at 38:1-10.)      Federal Air Marshal Jay stayed

14   with defendant at the rear galley of the plane and away from the crew

15   and other passengers, such that the flight attendants, including the

16   victim flight attendant, could not prepare for services for the other

17   passengers.    (Id. at 38:25 to 39:12.)

18        When defendant was allowed to use the lavatory at one point, she

19   remained there for forty-five minutes and refused to leave, even

20   though the plane was entering turbulence.         (Id. at 104:1 to 105:8.)

21   Defendant had to be carried out.       (Id.)    During this time, she

22   struggled with the federal air marshals and kicked Federal Air

23   Marshal J.B. in the chest.      (Id. at 105:11-24.)

24        Defendant continued to yell racial and misogynistic slurs,

25   including calling Federal Air Marshal Jason Jay, who is African

26   American, a “house nigger,” and a female flight attendant a “dumb

27   white trash bitch,” for the remaining five hours of the flight.                (Id.

28   at 96:24-97:4.)

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1    III. THE PRESENTENCE INVESTIGATION REPORT
2           The USPO found that the total offense level was 9 pursuant to

3    USSG § 2A5.2(A)(4) and that defendant is in criminal history category

4    I.    This results in a Guidelines range of 4 to 10 months of

5    imprisonment (Zone B of the Sentencing Table).          (PSR ¶ 106.)    Thus,

6    defendant is eligible for the following types of sentences: (1) a

7    sentence of imprisonment; (2) a sentence of imprisonment that

8    includes a term of supervised release with a condition that

9    substitutes community confinement or home detention according to the

10   schedule in USSG § 5C1.1(e), provided that at least one month is

11   satisfied by imprisonment; and (3) a sentence of probation that

12   includes a condition or combination of conditions that substitute

13   intermittent confinement, community confinement, or home detention

14   for imprisonment according to the schedule in USSG § 5C1.1(e).             (Id.)

15          The USPO recommends 3 years of probation, which is a variance

16   from the Zone B recommended sentence of probation with a condition of

17   either home confinement or residential re-entry center placement.

18   (Docket No. 90: Disclosed Recommendation Letter at 5-6.)           The USPO is

19   also recommending a special assessment fee of $125 and a fine of

20   $2,000.

21   IV.    THE GOVERNMENT’S SENTENCING RECOMMENDATION
22          The government recommends a custodial term of four months’

23   imprisonment, which is at the low end of the applicable Guidelines

24   range, as to counts one and two.       The four months should be served

25   with one month in imprisonment and three months of home detention as

26   a condition of supervised release.          Such a sentence is sufficient,

27   but not greater than necessary to reflect the serious nature and

28   circumstances of defendant’s conduct, and also to deter defendant and

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1    others from committing similar crimes in the future.

2         Defendant’s conduct and its potential dangerous consequences

3    should not be minimized.      Flying, much less flying internationally

4    for over 14 hours, is an uncomfortable and miserable experience in

5    tight and crammed spaces.      Defendant purposefully exacerbated those

6    conditions when she chose to get inebriated and lash out at the

7    flight crew and fellow passengers.          Her behavior was so severe,

8    unpredictable, and unmanageable that several federal air marshals

9    were forced out from undercover.       In doing so, defendant forced them

10   to lose a critical tool for strategic advantages against combating

11   bad actors on the plane: their anonymity.         As Federal Air Marshal

12   Jason Jay testified at trial, the federal air marshals do not board

13   the plane in uniform.     Instead, they are in plainclothes so that they

14   can maintain the element of surprise.         When the federal air marshals

15   were forced to identify themselves as law enforcement, they lost that

16   tactical advantage and their ability to combat potential bad actors

17   on the plane was compromised.

18        While the government is sympathetic of defendant’s tragic and

19   sad past, defendant’s unprovoked physical attack of a flight

20   attendant and the potential dangerous consequences of that action

21   warrant a custodial term.      A two-year period of supervised release

22   would also ensure that defendant is getting the services she needs,

23   including mental and alcohol abuse counseling, while deterring future

24   similar conduct.    Finally, as the USPO found, defendant has the

25   financial ability to pay a fine within the applicable range of $2,000

26   to $20,000.    (PSR ¶ 102.)    As such, she should be required to pay the

27   USPO-recommended fine of $2,000, in addition to the mandatory special

28   assessment of $125.

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1    V.   CONCLUSION
2         For the foregoing reasons, the government respectfully requests

3    that this Court impose a sentence of a one-month term of imprisonment

4    with three months of home detention as a condition of supervised

5    release as to counts one and two; two years of supervised release,

6    consisting of two years as to count one and one year of supervised

7    release as to count two (to run concurrently); $125 in special

8    assessment, consisting of $100 as to count one and $25 as to count

9    two; and a $2,000 fee, consisting of $1,000 as to count one and

10   another $1,000 as to count two.

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